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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                NORTHERN DISTRICT OF TEXAS

                                                    §
 Michelle Cooper,                                   §
                                                    §
                 Plaintiff,                         § Case No.
                                                    §
 v.                                                 §
                                                    §
 MediCredit, Inc.,                                  § Complaint and Demand for Jury Trial
                                                    §
                 Defendant.                         §
                                                    §


                                            COMPLAINT

        Michelle Cooper (Plaintiff), by and through her attorneys, Kimmel & Silverman, P.C.,

alleges the following against MediCredit, Inc. (Defendant):

                                         INTRODUCTION

        1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C.

§ 1692 et seq. (FDCPA).

                                  JURISDICTION AND VENUE

        2.      This Court has subject-matter jurisdiction over this action under 15 U.S.C. §

1692k(d), which states that FDCPA actions may be brought and heard before “any appropriate

United States district court without regard to the amount in controversy,” and 28 U.S.C. § 1331

grants this court original jurisdiction of all civil actions arising under the laws of the United States.

        3.      This Court has personal jurisdiction over Defendant because Defendant conducts

business in the State of Texas and because the occurrences from which Plaintiff’s cause of action

arises took place and caused Plaintiff to suffer injury in the State of Texas.

        4.      Venue is proper under 28 U.S.C. § 1391(b)(2).

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                                               PARTIES

       5.         Plaintiff is a natural person residing in Dallas, Texas 75287.

       6.         Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

       7.         Defendant is a corporation with national headquarters at 3 City Place Drive, Suite

690, Saint Louis, MO 63141.

       8.         Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

       9.         Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and/or insurers.

                                    FACTUAL ALLEGATIONS

       10.        At all relevant times Defendant was seeking to collect an alleged consumer debt

from Plaintiff.

       11.        The debt in question, a medical debt, arose from transactions primarily for personal,

family or household purposes.

       12.        Within the one year period preceding the filing of this Complaint and continuing

through October 2017, Defendant placed repeated harassing telephone calls to Plaintiff on her

cellular telephone.

       13.        On multiple occasions after calls began, and most recently in September 2017,

Plaintiff told Defendant that she was on disability, that she could not pay the debt, and that she

wanted Defendant to stop calling.

       14.        Once Plaintiff made Defendant aware that she was unable to pay the debt and that

she did not wish to be contacted, there was neither a lawful purpose nor a good-faith reason for

Defendant to continue calling his cellular telephone.




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       15.       Further, any continued calls after Defendant learned Plaintiff did not wish to be

contacted could only have been for the purpose of harassment.

       16.       Although Defendant’s representatives heard Plaintiff’s request, it ignored the

request and continued to call her.

       17.       Defendant’s continuous and repeated telephone calls to Plaintiff caused Plaintiff

frustration, annoyance, and distress, especially when they came while she was hospitalized.

       18.       Defendant’s actions as described herein were taken with the intent to harass, upset

and coerce Plaintiff to pay the alleged debt.




                                 COUNT I
             DEFENDANT VIOLATED§§ 1692d AND 1692d(5) OF THE FDCPA

       19.       Plaintiff incorporates the forgoing paragraphs as though the same were set forth at

length herein.

       20.       Section 1692d of the FDCPA prohibits debt collectors from engaging in any

conduct the natural consequence of which is to harass, oppress or abuse any person in connection

with the collection of a debt.

       21.       Section 1692d(5) of the FDCPA prohibits debt collectors from causing a telephone

to ring or engaging any person in telephone conversation repeatedly or continuously with the intent

to annoy, abuse or harass any person at the called number.

       22.       Defendant violated sections 1692d and 1692d(5) of the FDCPA when it placed

repeated harassing telephone calls to Plaintiff and continued to call her knowing that its calls were

unwanted.




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     Wherefore, Plaintiff, Michelle Cooper, respectfully prays for judgment as follows:

         a. All actual damages Plaintiff suffered (as provided in 15 U.S.C. § 1692k(a)(1));

         b. Statutory damages of $1,000 for the violation of the FDCPA (as provided under 15

             U.S.C. § 1692k(a)(2)(A));

         c. All reasonable attorneys’ fees, witness fees, court costs, and other litigation costs

             (as provided under 15 U.S.C. § 1693k(a)(3));

         d. Any other relief this Honorable Court deems appropriate.




                              DEMAND FOR JURY TRIAL

     Please take notice that Plaintiff, Michelle Cooper, demands a jury trial in this case.




                                                Respectfully submitted,

Dated: 2/13/18                                  By: s/ Amy L. Bennecoff Ginsburg
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